  Case 1:10-cr-00233-WMS-HKS          Document 261      Filed 08/21/12    Page 1 of 26




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,
                    v.                                        10-CR-233S

JOSE MARTINEZ, et al.,

                Defendants.
_____________________________________


                                 DECISION AND ORDER

             This case was referred to the undersigned by the Hon. William M.

Skretny, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear

and report upon dispositive motions. Text Order of Referral dated August 12, 2010.

Presently pending is defendant Felix Vasquez’s omnibus discovery motion. Dkt. #188.

The government filed opposition to defendant Vasquez’s motion (Dkt. #204) and oral

argument was held on February 2, 2012; the transcript of oral argument was filed on

March 26, 2012 (Dkt. #225).



             On August 12, 2010, a Federal Grand Jury empaneled in the Western

District of New York returned a six-count Indictment charging defendants, Jose

Martinez, a/k/a “Noelle”, Angel Luis Marcial, a/k/a “Bate”, Juan DeJesus Santiago, a/k/a

“Javi”, Felix J. Vasquez, a/k/a “Lolo” and Carlos A. Jorge Canales, a/k/a “Nito” with the

following crimes: conspiracy to possess and distribute cocaine and cocaine base
  Case 1:10-cr-00233-WMS-HKS           Document 261      Filed 08/21/12    Page 2 of 26




(Count 1) in violation of Title 21, United States Code, Section 8461; conspiracy to kill

Quincy Turner, a government witness, (Count 2) in violation of Title 18, United States

Code, Section 1512(k); the killing and the conspiracy to kill Quincy Turner to prevent his

communication with law enforcement (Count 3) in violation of Title 18, United States

Code, Sections 1512(a)(1)(C), 1512(a)(3)(A) and 2; conspiracy to retaliate against

Quincy Turner for providing information to a law enforcement officer (Count 4) in

violation of Title 18, United States Code, Sections 1513(f) and 1513(a)(2)(A); retaliation

against Quincy Turner for providing information to a law enforcement officer (Count 5)

in violation of Title 18, United States Code, Sections 1513(a)(1)(B) and 1513(a)(2)(A)

and 2; and the possession, use, and discharge of a firearm in connection with the killing

of Quincy Turner (Count 6) in violation of Title 18, United States Code, Sections

924(c)(1)(A)(iii), 924(j)(1) and 2. Dkt. #1. As against each named defendant, the

Indictment sets forth a Notice of Special Findings with respect to Counts 2 - 6 pursuant

to Title 18, United States Code, Sections 3591 and 3592 indicating, inter alia, that the

crimes charged in Counts 2 through 6 are crimes for which the government may seek a

sentence of death.




       1
         As it was originally presented to the United States District Court for the Western
District of New York, the instant Indictment was titled a “Second Superseding
Indictment” in the case of United States v. Quentin Leeper, et al., Case No. 08-CR-69
wherein Jose Martinez was a named defendant. Only defendant Jose Martinez is
charged in Count 1 of the instant Indictment. For reasons unrelated to the matters
presented herein, it was determined that the instant Indictment should be assigned a
separate case number, 10-CR-233.

                                            -2-
  Case 1:10-cr-00233-WMS-HKS          Document 261        Filed 08/21/12   Page 3 of 26




              In his motion, defendant Vasquez seeks: a bill of particulars;

discovery pursuant to Rules 12 and 16 of the Federal Rules of Criminal Procedure; a

bill of particulars; pretrial disclosure of evidence pursuant to Rules 404(b), 608 and 609

of the Federal Rules of Evidence; the immediate release of Brady, Giglio and Jencks

Act material; and an audibility hearing. See Dkt. #188.



Bill of Particulars

              By his motion, defendant Vasquez seeks particularization with respect to

Counts 2, 4 and 6 of the instant Indictment. With respect to Counts 2 and 4, defendant

Vasquez requests that the government state with specificity the “others” with whom

Vasquez is alleged to have conspired to kill Quincy Turner. Dkt. #188, p.3. Finally, with

respect to Count 6, defendant Vasquez requests that the government state: the date,

time and place each defendant, including defendant Vasquez, is alleged to have “used”

firearms; the date, time and place each defendant, including defendant Vasquez, is

alleged to have “carried” firearms; the date, time and place each defendant, including

defendant Vasquez, is alleged to have “discharged” firearms; the make, model and

serial number of the firearms alleged to have been “used,” “carried,” and “discharged”

by the defendants, including defendant Vasquez, and if the government alleges that

defendant Vasquez had constructive possession of the firearms, state with specificity

the facts upon which the government will rely in attempting to prove constructive

possession. Id. at pp.3-4.




                                            -3-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12      Page 4 of 26




             Although the government did not individually respond to each of

defendant Vasquez’s requests for a bill of particulars, in its general response the

government states, in part,

             Defendant, despite the volume of discovery provided, has
             requested that the government file a Bill of Particulars
             enumerating and specifying, in great detail, aspects of the
             case. The government maintains that the Indictment is
             sufficient and that the demand for a Bill of Particulars is
             unwarranted as to the defendant. The volume of discovery
             provided thus far provides an overall picture of the
             defendant’s culpability and actions relative
             to the superceding [sic] indictment constituting all material
             presently within its possession that is within the purview of
             Rule 16 and in compliance with Rule 12(b)(4)(B). . . .

             Many of the particulars sought by the defendant relate to
             specific details of the conspiracies charged in the
             Indictment. Additionally, the government does not have to
             prove overt acts to support such charges. However, the
             government is not required to prove exactly when or how a
             conspiracy was formed or when or how a particular
             defendant joined the scheme, and as the circumstantial
             proof from which the government usually relies to prove the
             existence of a scheme often does not reveal such details,
             the courts have consistently rejected demands for particulars
             as to the formation of a conspiracy or the entry into a
             conspiracy of a particular defendant or confederate. Nor is
             the government obligated to disclose the means by which it
             is charged that the bad and overt act was performed in
             furtherance of the conspiracy, which is most certainly true in
             a case of a prosecution under Title 21, United States Code,
             Section 846, in that it does not require the allegation or
             specification of overt acts.

Dkt. #204, pp.2-7 (internal citations omitted). During oral argument, counsel for the

government stated that it has previously placed on the record its “view or vision” of the

evidence as it relates to each defendant’s role in the murder of Quincy Turner and




                                            -4-
  Case 1:10-cr-00233-WMS-HKS            Document 261       Filed 08/21/12     Page 5 of 26




further that the government should not be required to put into writing information that

the defendants already know. Dkt. #225, p.17.



              The defendant’s requests are denied. It has become axiomatic that the

function of a bill of particulars is to apprise a defendant of the essential facts of the

crime for which he has been charged. United States v. Salazar, 485 F.2d 1272, 1277-

78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v. United States, 273

U.S. 77 (1927). With respect to Counts 2 and 4, defendant Vasquez asks that the

government, among other things, identify the “others” that participated in the conspiracy

to kill Quincy Turner, and state the dates each co-conspirator entered and left the

conspiracy. Where, as here, the charges involve violence, courts have declined to

grant a request for a bill of particulars seeking the identity of unindicted co-conspirators.

See United States v. Santiago, 174 F.Supp.2d 16, 36 (S.D.N.Y. 2001); United States v.

Columbo, No. 04-CR-273, 2006 WL 2012511, at *6 n.18 (S.D.N.Y. July 18, 2006). With

respect to defendant Vasquez’s requests concerning the firearms and the date, time

and place each defendant used, carried and/or discharged the firearms, the

government is not obligated to preview its case or expose its legal theory, nor is the

government required to disclose the manner in which it will attempt to prove the

charges or the precise manner in which the crimes charged in the Indictment were

committed. Finally, based on the representations made by counsel for the government

concerning the discovery provided, the balance of the defendant’s requests for

particularization seek information already known by defendant Vasquez by reason of

the discovery provided.

                                             -5-
  Case 1:10-cr-00233-WMS-HKS           Document 261      Filed 08/21/12     Page 6 of 26




              “A bill of particulars should be required only where the
              charges of the indictment are so general that they do not
              advise the defendant of the specific acts of which he is
              accused.” United States v. Feola, 651 F. Supp. 1068, 1132
              (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
              denied, ____ U.S. ____, 110 S.Ct. 110, 107 L.Ed.2d 72
              (1989); see also United States v. Leonelli, 428 F. Supp. 880,
              882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
              rests within the sound discretion of the district court.” United
              States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
              United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
              cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
              (1980)); see also Bortnovsky, 820 F.2d at 574. “Acquisition
              of evidentiary detail is not the function of the bill of
              particulars.” Hemphill v. United States, 392 F.2d 45, 49 (8th
              Cir.), cert. denied, 393 U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d
              149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir. 2004); United States v. Porter, 2007 WL 4103679 (2d

Cir. 2007).



Discovery

       Rule 16 Discovery

              A & B.        Defendant’s Statements

              The defendant requests copies of any written or recorded statements

made by him, as well as the substance of any oral statements he made. Dkt. #188,

pp.4-7. Moreover, the defendant seeks the name, address and phone number of each

person present when any such statement was made by the defendant. Id. In its

response, the government states in pertinent part,

              [a]ll written and recorded statements of defendant have
              been provided or will be provided, as well as the substance


                                            -6-
  Case 1:10-cr-00233-WMS-HKS         Document 261      Filed 08/21/12    Page 7 of 26




             of any oral statements made by defendant before and after
             arrest in response to interrogation by any person known to
             the defendant to be a government agent.

Dkt. #204, p.7. Based on the representations made by counsel for the government, the

defendant’s request is denied as moot.



             C.     Co-Conspirators’ Statements

             By this request, defendant Vasquez seeks the disclosure of all written,

recorded, or oral statements made by a co-defendant/co-conspirator, indicted or

unindicted, which the government alleges are admissible under Federal Rule of

Evidence 801(d)(2)(E). Dkt. #188. In its response, the government declines to provide

statements and the identities of all persons or co-conspirators interviewed and not

intended to be called by the government as outside the requirement of Title 18, United

States Code, Section 3500 and Rule 16 of the Federal Rules of Criminal Procedure.

Dkt. #204, p.8.



             Although the government did not specifically respond to this expanded

request, Rule 16(a)(1)(A) of the Federal Rules of Criminal Procedure only authorizes

discovery by a defendant of his own statement and not those of a co-defendant, except

as may be otherwise provided for in Title 18, United States Code, Section 3500. Even

though statements of co-defendants are not discoverable under Rule 16(a)(1)(A), it is

possible to find that they are discoverable under Rule 16(a)(1)(E). However, based on

the record presently before this Court, a determination of whether such statements, to



                                           -7-
  Case 1:10-cr-00233-WMS-HKS          Document 261      Filed 08/21/12    Page 8 of 26




the extent they exist, are discoverable under the Jencks Act (Title 18, United States

Code, Section 3500) or under Rule 16(a)(1)(E) would be premature at this time.

Accordingly, for the foregoing reasons, defendant Vasquez’s request is denied without

prejudice.



              With respect to defendant Vasquez’s request for the disclosure of co-

conspirators’ statements, the government declines to provide statements and the

identities of all persons or co-conspirators interviewed and not intended to be called by

the government as outside the requirement of Title 18, United States Code, Section

3500 and Rule 16 of the Federal Rules of Criminal Procedure. Dkt. #204, p.8.

Because Rule 801(d)(2)(E) of the Federal Rules of Evidence does not contain a

required pretrial notice, there is no requirement on the part of the government to make

any such disclosure of this type of evidence at this time. As a result, defendant’s

request in this regard is denied.



              D.     Defendant’s Prior Criminal Record

              By this request, defendant Vasquez requests a copy of his prior criminal

record. Dkt. #188, p.8. Although the government does not specifically respond to this

request, Rule 16(a)(1)(D) of the Federal Rules of Criminal Procedure mandates such

disclosure. Accordingly, to the extent the government has not already disclosed his

prior criminal history to defendant Vasquez, such request is granted.




                                           -8-
  Case 1:10-cr-00233-WMS-HKS          Document 261      Filed 08/21/12    Page 9 of 26




             E.     Documents and Objects

             In nine requests, defendant Vasquez seeks the disclosure of documents

and objects pursuant to Rule 16(a)(1)(E) of the Federal Rules of Criminal Procedure.

More specifically, defendant Vasquez seeks the disclosure of all physical evidence,

including but not limited to books, papers, documents, data, photographs, tangible

objects, buildings or places, weapons, substances, physical samples or materials

seized from or allegedly belonging to defendant Vasquez, any co-defendant or alleged

co-conspirator, and any alleged victim, living or deceased. Dkt. #188, pp.8-10. In

addition, defendant Vasquez seeks the disclosure of all physical evidence removed

from the scene(s) of the alleged crime(s). Id. at p.10. Defendant Vasquez also

requests copies of all photographs and videotapes, as well as maps, sketches or

diagrams relating to the alleged charges which the government intends to offer in its

case-in-chief. Id. In its response, the government states that it “has made available all

tangible objects obtained pursuant to search, arrest or otherwise and will make

available photographs material to the preparation of a defense or intended to be used

as evidence-in-chief at trial or obtained from or belonging to a defendant and pursuant

to Rule 12(b)(4)(B), such evidence shall be used by the government against the

defendant at trial.” Dkt. #204, p.8. Based on the representations made by counsel for

the government, the defendant’s request is denied as moot.




                                           -9-
  Case 1:10-cr-00233-WMS-HKS         Document 261       Filed 08/21/12    Page 10 of 26




             F.     Reports of Examinations and Tests

             By this request, defendant Vasquez seeks the disclosure of the results of

any physical and/or scientific examinations, tests and/or experiments within the

government’s possession and which are intended to be used as evidence in chief or

which are material to the defense preparation. Dkt. #188, pp.11-12. In its response,

the government states, “[t]he results and reports of any physical and mental

examinations and of scientific tests and experiments made in connection with the case

have been made available to the defendant. If any further reports are forthcoming, they

will be provided upon receipt by the government.” Dkt. #204, p.8. Accordingly, based

on the representations made by the government that the requested documents and

information have been or will be disclosed, defendant’s request is denied as moot.



             G.     Expert Witness

             Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure,

defendant Vasquez seeks the identities, qualifications, and summary of testimony of all

expert witnesses the government intends to call at trial. Dkt. #188, p.12. In its

response, the government states, “the government will comply with the defendant’s

requests for expert testimony pursuant to Rule 16(a)(1)(G) of witnesses who will testify

under Rules 702, 703 and 705 F.R.E.” Dkt. #204, p.8. Accordingly, based on the

government’s representations that it will comply with its disclosure obligations under

Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure and Federal Rules of

Evidence 702, 703 and 705, defendant’s request is denied as moot.



                                           -10-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12     Page 11 of 26




              H.     Government Witnesses and Related Requests

              Finally, defendant Vasquez seeks a written list of the names and

addresses of all government witnesses the government intends to call in the

presentation of its case-in-chief, in both the guilt and penalty phases of the trial. Dkt.

#188, p.12. In addition, defendant Vasquez requests the criminal history of each such

witness. Id. Moreover, defendant Vasquez requests a list of the names and addresses

of all persons present or with personal knowledge of the utterances, statements or

actions of the defendant upon which the government will rely. Id. at p.13. Lastly,

defendant Vasquez seeks a list of the names of any prospective witnesses who have

been in or are approved for the witness protection program. Id. The government has

agreed to disclose written statements of witnesses and investigative agency or police

department memoranda. Dkt. #204, p.8. The government has declined to provide

statements and the identities of all persons or co-conspirators interviewed and not

intended to be called by the government. Rule 16 of the Federal Rules of Criminal

Procedure does not require such disclosure, and because there has been no showing

of need, the defendant’s motion is denied. See id.; United States v. Bejasa, 904 F.2d

137, 139 (2d Cir.), cert. denied, 498 U.S. 921 (1990); United States v. Johnson, No. 92-

CR-39A, 1994 WL 805243 (W.D.N.Y. May 26, 1995), aff’d, 108 F.3d 1370 (1997);

United States v. Pastor, 419 F. Supp. 1318, 1320 (S.D.N.Y. 1975).




                                            -11-
  Case 1:10-cr-00233-WMS-HKS        Document 261      Filed 08/21/12    Page 12 of 26




      Request for Disclosure Under Rule 12

             Pursuant to Rule 12(b)(4)(B) of the Federal Rules of Criminal Procedure,

defendant Vasquez seeks the disclosure of any evidence that the government may use

at trial so that the defendant can determine whether a motion to suppress under Rule

12(b)(3)(C) is appropriate. Dkt. #188, pp.13-16. Specifically, defendant Vasquez

outlines the following categories of documents and information: evidence obtained

through any search and seizure; evidence obtained through the execution of any

warrant; evidence obtained through any electronic, visual or mechanical surveillance;

evidence obtained through a beeper or tracking device; evidence obtained through the

use of a mail cover; evidence obtained through any identification procedures; any

written, recorded or oral statements of the defendants; and any statements by a

“jailhouse informant.” Id. at pp. 14-15. More specifically, defendant Vasquez requests

the following specific information: the search warrant signed on October 7, 2008

authorizing the search of 81 Durnan Street, Rochester, New York and the search on

October 29, 2008 of a 2001 Honda Odyssey minivan bearing vehicle identification

number 2HKRL186X1H012545. Id. In its response, the government stated,

             [t]he defendant’s next paragraphs (28A-B) seek to articulate
             a request for disclosure regarding materials seemingly
             obtained and now continuing to be used in violation of a
             protective order (08-CR-0210-CJS, Document 728, relating
             to Reynaldo Velez, et. al attached hereto)(Ex. 3). To that
             end, defendant seeks documents and evidence to which he
             is not entitled as well as to witness identification and
             statements in advance of any established statutory time
             frames. The government has continuously opposed the
             production of witness statements or identification of
             witnesses under the various claims of Brady, Kyles or Giglio.



                                          -12-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12     Page 13 of 26




Dkt. #204, p.9 (internal citations omitted). The substance of the defendant’s requests

concerning 81 Durnan Street and the 2001 Honda Odyssey were again discussed

during oral argument. During oral argument counsel for defendant Vasquez asked the

government, “are you intending to use evidence derived from the search of 81 Durnan

Street or the Honda Odyssey in this case?” Dkt. #225, pp. 57-58. In response, counsel

for the government stated, “I’ll let you know.” Id. at p.58 (as clarified by the audio

recording of oral argument). Moreover, counsel for the government added, “Just so the

record is clear, Judge, the government believes the Honda Odyssey was purchased

with proceeds from this homicide whether anything is [sic] in that regard was obtained

from the Honda Odyssey is certainly a matter of question. The Odyssey itself is an

issue in this case, not what was seized from it.” Id. (as clarified by the audio recording

of oral argument).



              Defendant Vasquez requests that the government disclose whether any

evidence to be offered consists of or is derived from the any search and/or seizure.

With the exception of the searches discussed briefly above, the record before this Court

does not reveal whether there were in fact any search warrants sought, issued or

executed in connection with any defendant. To the extent a search warrant relating to

defendant Vasquez was sought, issued and/or executed, the defendant’s request is

granted. Defendant Vasquez further requests that the government state whether any

evidence to be offered at trial relates to or is derived from any identification procedures.

The government does not specifically respond to this portion of defendant’s discovery

request, however, to the extent any such identification procedures were utilized relative

                                            -13-
  Case 1:10-cr-00233-WMS-HKS          Document 261      Filed 08/21/12    Page 14 of 26




to defendant Vasquez in the investigation of the instant case, the defendant’s request

for the disclosure of any individual photographs, photo arrays and/or photo spreads and

records related thereto is granted.



             The defendant next requests copies of any written or recorded statements

made by the defendants. This request was addressed above, wherein the Court stated,

Rule 16(a)(1)(A) of the Federal Rules of Criminal Procedure only authorizes discovery

by a defendant of his own statement and not those of a co-defendant, except as may

be otherwise provided for in Title 18, United States Code, Section 3500. Even though

statements of co-defendants are not discoverable under Rule 16(a)(1)(A), it is possible

to find that they are discoverable under Rule 16(a)(1)(E). However, based on the

record presently before this Court, a determination of whether such statements, to the

extent they exist, are discoverable under the Jencks Act (Title 18, United States Code,

Section 3500) or under Rule 16(a)(1)(E) would be premature at this time. Accordingly,

for the foregoing reasons, defendant Vasquez’s request is denied without prejudice.



             Finally, defendant Vasquez seeks the disclosure of any evidence obtained

through the use of a beeper, mail cover or the installation of a mobile tracking device.

The government does not respond to this request and the Court is presently unaware

whether any application seeking the authorization to use a beeper, mail cover or to

install mobile tracking devices was presented to the Court and if so, whether the

application was granted. Accordingly, to the extent an application seeking authorization



                                           -14-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12    Page 15 of 26




to use a beeper, mail cover or to install a mobile tracking device relating to defendant

Vasquez was presented, issued and/or executed, the defendant’s request is granted.



Brady and Giglio Material

              The defendant has made a broad request for the immediate disclosure of

all materials potentially favorable to him, including evidence which is exculpatory and

evidence which may be used for impeachment of government witnesses, which the

Court interprets as a broad request for “Brady” and “Giglio” materials. Dkt. #188, pp.16-

19.



              The government has acknowledged its affirmative duty to provide a

defendant with exculpatory evidence, as well as the evidence the defense might use to

impeach the government’s witnesses at the trial under Brady v. Maryland, 373 U.S. 83

(1963) and Giglio v. United States, 405 U.S. 150 (1972) and subsequent cases. Dkt.

#204, pp.12-13. “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). The prosecution is obligated

to disclose and turn over Brady material to the defense “in time for its effective use.”

Coppa at 144. With respect to impeachment material that does not rise to the level of

being Brady material, such as Jencks statements, the prosecution is not required to

disclose and turn over such statements until after the witness has completed his direct

testimony. See 18 U.S.C. § 3500; Rule 26.2 Fed.R.Crim.P.; In Re United States, 834



                                            -15-
  Case 1:10-cr-00233-WMS-HKS         Document 261      Filed 08/21/12    Page 16 of 26




F.2d 283 (2d Cir. 1987). However, if the government has adopted a policy of turning

such materials over to the defendant prior to trial, the government shall comply with that

policy; or in the alternative, produce such materials in accordance with the scheduling

order issued by the trial judge. Accordingly, the defendant’s request for such materials,

i.e., Brady, Giglio and Jencks is denied, but the government is hereby directed to

comply with the Second Circuit Court of Appeals’ holding in United States v. Coppa,

267 F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d Cir.

2007) by making timely disclosure of those materials to the defendant.



Rules 404, 608 and 609 Evidence

             Defendant Vasquez requests the pretrial disclosure of any evidence the

government intends to offer pursuant to Rule 404(b) of the Federal Rules of Evidence.

Dkt. #188, p.20. In addition, defendant Vasquez also requests the disclosure of all

evidence of prior bad acts that the government intends to use for impeachment of the

defendant, should he testify at trial pursuant to Rules 608 and 609 of the Federal Rules

of Evidence. Id. In its response, the government states,

             The defendant also reiterates his request for 404(b), 608(b)
             and 609(a) material (¶ 31) to be used to impeach the
             defendant. The government hereby notifies the defendant
             that it intends to introduce at trial, pursuant to Rule 404(b),
             all prior criminal conduct acts or wrongs for the purpose of
             showing proof of the defendant’s motives, opportunity,
             intent, preparation, plan, knowledge, identity and/or absence
             of mistake or accident. This notice is only preliminary in
             nature and is not intended to foreclose the government from
             relying on other types of 404(b) evidence should it deem the
             introduction of such evidence appropriate at the time of trial.
             The government will provide the defendant with more


                                           -16-
  Case 1:10-cr-00233-WMS-HKS           Document 261        Filed 08/21/12      Page 17 of 26




              definitive notice of its intent to rely on 404(b) evidence one
              week prior to trial, or during trial if the court excuses pretrial
              notice on good cause shown.

              The government believes it has disclosed a fair portion of
              the evidence in its possession — including the defendant’s
              criminal record — which might fall within the ambit of these
              rules. As of this time, the government is unaware of any
              impeachment evidence falling within the ambit of Fed. R.
              Evid. 609. With respect to the disclosure of evidence which
              falls within the ambit of Fed. R. Evid. 608 or 609, the
              government notes that it has no obligation to provide the
              defendant with any information that could be used to
              impeach him pursuant to Rule 608, should he elect to testify.
              . . . The government declines to release any further
              impeachment information at this juncture. To provide
              defense counsel with advance notice of impeachment
              evidence — whether under Rule 609 or otherwise — would
              obviously destroy its effectiveness and would undermine the
              truth seeking function of the jury. As at least one court has
              held, there is simply “[n]o rule or rationale [which]
              guarantees the defense advance knowledge of legitimate
              impeachment before it calls a witness.” It should be noted in
              this regard that the courts have refused to read the 1991
              “reasonable notice” amendment to Rule 404(b) as requiring
              the pretrial disclosure of impeachment evidence.

              Any questions with respect to the propriety and the timing of
              the disclosure of any further Rule 404(b), 608(b) and 609
              information can be addressed to the Court at the time of the
              pretrial conference.


Dkt. #204, pp.13-15 (internal citations omitted). In addition, attached to its response to

the instant motion is the government’s July 19, 2011 letter to all defense counsel

wherein counsel for the government stated,

              [a]dditionally, the defendants are advised that, in the context
              of 404(b) material, in August of 2008, defendant Juan
              DeJesus Santiago a/k/a Javi provided approximately one
              half kilogram of cocaine to an individual for distribution. The
              individual reneged on returning the proceeds of said half
              kilogram to Santiago and, thereafter, purchased with the

                                             -17-
  Case 1:10-cr-00233-WMS-HKS               Document 261   Filed 08/21/12    Page 18 of 26




               proceeds a Lexus vehicle for $7,000. Defendant Santiago,
               on numerous occasions, assisted by co-defendants Felix
               Vasquez a/k/a Lolo and Carlos Canales a/k/a Nito, came
               armed and threatened another individual to obtain the title
               for the vehicle which they had previously taken from the
               individual. Also, on October 1, 2007, in a FedEx seizure in
               Puerto Rico, of [sic] approximately $56,000 in U.S. currency
               was obtained which had been sent by defendant Santiago to
               an individual in Puerto Rico to obtain quantities of controlled
               substances.

Dkt. #204-1, p.5.



               Rule 404(b) only requires that “the prosecution. . . provide reasonable

notice in advance of trial. . . of the general nature of any such evidence it intends to

introduce at trial.” (Emphasis added). Insofar as the government has indicated that it

intends to comply with any pretrial disclosure order entered by the trial judge and

further, that it understands its disclosure obligations, defendant’s request is denied as

moot. The Court notes that the issue of admissibility of such evidence pursuant to

Rules 403 and 404(b) of the Federal Rules of Evidence is best left to the determination

of the trial judge at the time of trial.



Rule 3500 [Jencks Act] Material

               By this request, the defendant seeks the immediate/early disclosure of

witness statements pursuant to Title 18, United States Code, Section 3500 so as to

avoid delays at the trial and to permit counsel to properly review the materials. Dkt.

#188, p.21. Specifically, defendant Vasquez requests, “all statements and reports in

the possession of the United States which were made by government witnesses or


                                               -18-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12    Page 19 of 26




prospective government witnesses and which relate to the subject matter about which

those witnesses may testify.” Id.



              As noted above, with respect to impeachment material that does not rise

to the level of being Brady material, such as Jencks statements, the prosecution is not

required to disclose and turn over such statements until after the witness has

completed his or her direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In

re United States, 834 F.2d 283 (2d Cir. 1987). However, if the government has

adopted a policy of turning such materials over to the defendant prior to trial, the

government shall comply with that policy; or in the alternative, produce such materials

in accordance with the scheduling order to be issued by the trial judge.



              Based on the representations made by counsel for the government, that it

will disclose witness statements, the defendant’s request is denied. Notwithstanding

the foregoing, the government is hereby directed to comply with the Second Circuit

Court of Appeals’ holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and

United States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of

those materials to the defendant.



Preservation of Rough Notes

              By this request, defendant Vasquez seeks an order requiring all

government agents and officers who participated in the investigation to retain and



                                           -19-
  Case 1:10-cr-00233-WMS-HKS         Document 261      Filed 08/21/12    Page 20 of 26




preserve all rough notes taken as part of their investigation whether or not the contents

of the notes are incorporated in official records. Dkt. #188, pp.21-22. In its response,

the government states, “[r]egarding rough notes, no such basis exists at this time for

providing the requested materials, if they exist. The government will endeavor to

maintain such materials, if they exist. This in no way should be construed as any

concession that said notes are subject to disclosure.” Dkt. #204, pp.8-9.



             Although perhaps unnecessary, the government is reminded of its

obligation and the express admonition of the Court of Appeals for the Second Circuit

bears repeating in addressing this particular request of the defendant wherein the Court

stated:

             [W]e will look with an exceedingly jaundiced eye upon future
             efforts to justify non-production of a Rule 16 or Jencks Act
             “statement” by reference to “departmental policy” or
             “established practice” or anything of the like. There simply is
             no longer any excuse for official ignorance regarding the
             mandate of the law. Where, as here, destruction is
             deliberate, sanctions will normally follow, irrespective of the
             perpetrator’s motivation, unless the government can bear
             the heavy burden of demonstrating that no prejudice
             resulted to the defendant. . . . We emphatically second the
             district court’s observation that any resulting costs in the
             form of added shelf space will be more than
             counterbalanced both by gains in the fairness of trials and
             also by the shielding of sound prosecutions from
             unnecessary obstacles to a conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821



                                           -20-
  Case 1:10-cr-00233-WMS-HKS            Document 261       Filed 08/21/12     Page 21 of 26




(1976). Accordingly, the government is hereby directed to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks

material in this case.



Audibility Hearing

              By this request, the defendant seeks to reserve his right to request an

audibility hearing. Dkt. #188, p.22. Defendant Vasquez notes that the government has

not formally identified what recordings, if any, it will introduce at trial, however, once it

does, an audibility hearing should be held. Id. In its response, the government states,

              [t]he defendant makes this claim without any claim that he is
              unable to understand any of these conversations. The
              government is unaware of the basis for this request by the
              defendant. Consistent with conventional practice as
              enunciated b [sic] the Second Circuit Court of Appeals . . .
              the government has no opposition to the Court’s review of
              the recordings intended to be offered by the government.
              The government, however, believes the CDs provided to all
              defendants’ counsel, in the course of voluntary discovery are
              clearly audible and easily understood, though largely
              applicable only Count 1 in which defendant is not charged.

Dkt. #204, pp.15-16.



              It would appear that neither counsel for the defendant nor counsel for the

government have advised the Court that after a review of the audiotapes or CDs that

may be used at trial by the government, there are any actual audibility problems or

issues with respect to such tapes or CDs. Therefore, the defendant’s motion in this

regard is denied without prejudice to the right to reapply for such relief after the tapes or

CDs in question have been reviewed and it is determined that there is an audibility

                                             -21-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12    Page 22 of 26




issue that needs to be resolved by this Court. As part of this process, counsel for the

government is hereby directed to identify those tapes or CDs that the government plans

on using at the trial of the defendant and to have transcripts of those tape or CD

recordings prepared. Once such transcripts have been prepared, counsel for the

government shall supply copies of the designated tapes or CDs and respective

transcripts to counsel for the defendant. Counsel for the defendant is hereby directed

to review the aforesaid tapes or CDs and transcripts after receipt of same, and upon

completion of such review, make known to counsel for the government those portions

of the aforesaid tapes or CDs and transcripts that counsel for the defendant claims are

inaudible or, in the alternative, inaccurately transcribed. Thereafter, counsel for the

government and the defendant are directed to confer for the purpose of resolving any

disputes that may exist as to audibility of the tapes or CDs in question and the

correctness of the transcripts of such tapes or CDs. Should the attorneys be unable to

resolve any such disputes that may exist, counsel for the defendant may file a motion

for an audibility hearing, which motion must be filed and served within ten days after the

last conference between the attorneys seeking to resolve such issues.



Joinder

              Defendant Vasquez also seeks to join in any and all motions made on

behalf of the co-defendants, which apply to him and are not inconsistent with or

adverse to his interests. Dkt. #188, p.22. This request is granted with the further

directive and finding that the decision made by this Court as to each of the co-

defendant’s requests contained in the omnibus motion in which this defendant joins,

                                           -22-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12    Page 23 of 26




shall also be deemed to be the finding and Order of this Court as to the defendant

herein.



Leave to Make Further Motions

              By this request, defendant Vasquez states,

              [w]e request the right to bring such other motions and relief
              as may be just, proper and equitable and reasonably
              consistent with the premise herein, and otherwise consistent
              with this Court’s inherent jurisdiction in all matters before it
              and fairness in the administration of justice.

Dkt. #188, p.23. In its response, while the government concedes that defendant

Vasquez should be able to raise legal issues before trial to the extent they are not stale,

the Court should nevertheless deny the request. In support of its position, the

government asserts, “the law does not permit the defendant to hold in reserve any

argument he chooses for whatever reason he chooses, until a time that he chooses.”

Dkt. #204, p.16. Subject to the limitations contained in the aforesaid quotation, the

defendant’s request to make further and additional motions that may be necessary is

granted.



Government’s Reciprocal Discovery Demand

              In addition to the relief requested by the defendant, the government has

made a request for reciprocal discovery. Dkt. #204, pp.16-17. The government has

requested that the defendant permit it to inspect and copy all books, papers,

documents, photographs and other tangible objects which the defendant intends to



                                            -23-
  Case 1:10-cr-00233-WMS-HKS          Document 261      Filed 08/21/12    Page 24 of 26




introduce as evidence-in-chief at the trial. In addition, the government seeks to inspect

all reports of physical or mental examinations and of scientific tests or experiments,

within the possession or control of the defendant along with written summaries of expert

witness testimony that the defendant intends to use at trial. Since the defendant has

moved pursuant to Rule 16(a)(1) of the Federal Rules of Criminal Procedure for similar

materials and information, the government is entitled to this information pursuant to

Rule 16(b)(1) of the Federal Rules of Criminal Procedure and its request is granted.



Notice Pursuant to Federal Rule of Evidence 807

              In addition to its reciprocal discovery demand, pursuant to Federal Rules

of Evidence 803(24) and 804(b)(5)2 the government seeks advance disclosure of any

statements the defendant proposes to utilize at a trial of this matter. Dkt. #204, p.17.

Rule 807 of the Federal Rules of Evidence requires that in order for a statement to be

admissible, the proponent give the adverse party reasonable notice of the intent to offer

the statement and its particulars, including the declarant’s name and address. Based

on the notice requirements set forth in Federal Rule of Evidence 807, the government’s

request is granted.




      2
        Federal Rules of Evidence 803(24) and 804(b)(5) were transferred to Federal
Rule of Evidence 807.

                                           -24-
  Case 1:10-cr-00233-WMS-HKS          Document 261       Filed 08/21/12     Page 25 of 26




              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of



                                            -25-
 Case 1:10-cr-00233-WMS-HKS        Document 261     Filed 08/21/12      Page 26 of 26




Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       Buffalo, New York
             August 21, 2012

                                       s/ H. Kenneth Schroeder, Jr.
                                       H. KENNETH SCHROEDER, JR.
                                       United States Magistrate Judge




                                        -26-
